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February 21, 2018
VlA EMAIL

Andrew Weissmann

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Office of Special Counsel

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Re: United States v. Paul J. l\/lanafort, Jr. ~ 1:17-201-01 (ABJ)

Dear l\/lr. Weissmann, lVlr. Andres and l\/ls. Freeney,

We write once again to request materials relating to the DGJ's ”leal<s" investigations regarding
our client and materials concerning any government communications with news media organizations
and/or journalists, reporters and editors which relate to l\/lr. l\/lanafort, the co-defendant, and entities
associated with them. $ee Discovery Letter from Downing and Zehnle to OSC, p. 4, dated January 23,
2018. Despite the Court’s admonition and order regarding such contacts, see Dkt. # 38, anonymous
government officials continue to contact news outlets in a not-too-subtle attempt to poison the well
against our client, in violation of his Fifth and Sixth Amendment rights.

Just this past holiday weekend, numerous news stories - fueled by government sources -
appeared in the press which have substantially and negatively impacted and violated l\/lr. Manafort’s
constitutional rights to due process and trial by an impartial jury. See, e.g., lason Leopold, Anthony
Cormler and Tanya Kozyreva, Manafort Ur)der $crutiny for 540 lVli/Iion in ”Suspicious” Transactions,
BuzzFeed News, Feb. 19, 2018 (discussing the OSC's investigation and noting that ”three current and
former law enforcement officials said that l\/lueller’s team is poring over [documents] as it considers
leveling new charges against l\/lanafort”); David Willman, Former Trump Aide Richard Gates to P/ead
Guilty; Agrees to Testify Against Manofort, $ources Say, L.A. Times, Feb. 18, 2018 (discussing Gates’
alleged plea ”within the next few days" and stating that these individuals ”spol<e on condition of
anonymity, citing a judge’s gag order restricting comments about the case to the news media or
publlc"); Katelyn Polantz and Sara l\/lurray, Exclusive: A Top Trump Campaign Advl`ser C/ose to P/ea Deal
with lVIue/ler, CNN, Feb. 17, 2018 (anonymous sources stating that ”investigators with the special
counsel's office are preparing to file new charges against him, according to people familiar with the

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probe"). Government sources are sometimes specifically identified as such in these news articles; even
when they are not, it is abundantly clear that the leakers are current and former government officials
with personal knowledge of the matters reported. For example, in the CNN article, the two reporters
note that l\/lr. Gates' lawyers did not respond to requests for comments and we, of course, are not privy
to your plea dealings with the co-defendant and the inner workings of the OSC.

Your previous reply that ”the government is not aware of the relevance of [these] request[s]”
under Rule 16 or Brady is without merit and simply delaying the disclosure of materials to which the
defendant is entitled. See Letter from OSC dated February 12, 2018, p. 5. lt is not our responsibility to
inform the government of l\/lr. l\/lanafort's theories of defense, but suffice it to say, the Office of Special
Counsel is no doubt aware that impeachment evidence under Brady must be turned over to the
defense, lndeed, the Court in this case has specifically instructed the OSC to disclose Brady material as
soon as it becomes aware of it. Given the nature of these |eaks, it is not possible, but probable, that
some of these anonymous government sources are close to the prosecution team and will be called to
testify in the trial of this matter. Further, the information requested is material to the preparation of
the defense under Rule 16. As you know, the government must not disclose or confirm confidential
information to unfairly prejudice the defendant and taint the jury pool ~ i.e., information that is subject
to grand jury secrecy, the Court's November 8, 2017 Order, the protective order entered in this case
regarding discovery, and prohibitions against disclosure of classified materia|s. Such misconduct violates
l\/lr. Manafort’s due process rights and damages ourjudicial system.

We have now sufficiently advised you of some of the legal bases upon which the information is
appropriately sought. We will not stand idly by while these continuing leaks of protected information by
numerous government sources continues unabated. l\/lr. l\/lanafort is owed his day in court, and before
an impartial jury. We would hope that you, too, support this basic tenet of the American justice system
and will provide the materials forthwith. We await your timely response before determining what, if
any, Court action is required.

/S/

Kevin l\/l. Downing

/S/

Thomas E. Zehnle

